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                                                            27                                           CT Corporation
                                                                                          Service of Process Notification
                                                                                                                   12/20/2024
                                                                                                      CT Log Number 548030929


  Service of Process Transmittal Summary

  TO:       Emily Mayer
            SSM Health Care Corporation
            12800 CORPORATE HILL DR
            SAINT LOUIS, MO 63131-1845

  RE:       Process Served in Missouri

  FOR:      SSM Health Care Group (Domestic State: MO)


  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                        Re: DORA PELLETIER // To: SSM Health Care Group

  CASE #:                                 2422CC11686

  NATURE OF ACTION:                       Employee Litigation - Wrongful Termination

  PROCESS SERVED ON:                      C T Corporation System, St Louis, MO

  DATE/METHOD OF SERVICE:                 By Process Server on 12/20/2024 at 12:06

  JURISDICTION SERVED:                    Missouri

  ACTION ITEMS:                           CT will retain the current log

                                          Image SOP

                                          Email Notification, Laura Helm Laura.Helm@ssmhealth.com

                                          Email Notification, Pamela Bell Pamela.Bell@ssmhealth.com

                                          Email Notification, Heather Morgan heather.morgan@ssmhealth.com

                                          Email Notification, Jennifer Horrom jennifer.horrom@ssmhealth.com

                                          Email Notification, Justin Ingram justin.ingram@ssmhealth.com

                                          Email Notification, Emily Mayer Emily.Mayer@ssmhealth.com

  REGISTERED AGENT CONTACT:               C T Corporation System
                                          5661 Telegraph Rd Ste 4B
                                          St Louis, MO 63129
                                          866-401-8252
                                          LargeCorporationTeam@wolterskluwer.com



  The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
  and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
  information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
  included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
  disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
  contained therein.




                                                                                             B                          Page 1 of 1
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                                                                            Wolters Kluwer
                    PROCESS SERVER DELIVERY DETAILS



Date:                                     Fri, Dec 20, 2024
Server Name:                              Drop Service




 Entity Served              SSM HEALTH CARE GROUP

 Case Number                2422CC11686
 Jurisdiction               MO



                                           Inserts
          Case: 4:25-cv-00025-SRW                  Doc. #: 1-4          Filed: 01/08/25        Page: 3 of 17 PageID #:
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                                                                                                                   SERVE
              Summons in Civil Case
               I N THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                     Case Number: 2422-CC11686
 ELIZABETH BYRNE HOGAN
 Plaintiff/Petitioner:                                  Plaintiff's/Petitioner's Attorney/Address
 DORA PELLETIER                                         JESSICA MARIE SCALES
                                                        2711 CLIFTON AVE
                                                  VS.   ST. LOUIS, MO 63139
 Defendant/Respondent:                                  Court Address:
 SAINT LOUIS UNIVERSITY                                 CIVIL COURTS BUILDING
 Nature of Suit:                                        10 N TUCKER BLVD                                              (Date File
 CC Employmnt Discrmntn 213.111                         SAINT LOUIS, MO 63101                                         Stamp for
                                                                                                                       Return)
 The State of Missouri to:            SSM HEALTHCARE GROUP
                                      Alias: DBA SLUCARE PHYSICIAN GROUP
 CT CORPORATION SYSTEM
 5661 TELEGRAPH RD STE 4B                                                                      ST LOUIS COUNTY SHERIFF
 SAINT LOUIS, MO 63129


 You are summoned to appear before this court and to file your pleading to the petition, a copy of which
 is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the above
 address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to file
 your pleading, judgment by default may be taken against you for the relief demanded in the petition.

             COURT SEAL OF


                                                          December 10, 2024
                                                                Date                                          Clerk

            CITY OF ST LOUIS

Further Information:




SJRC (07-24) SM30(SMCC)For Court Use Only: Document ID # 24-SMCC-166161 of 2(2422-CC11686) Civil Procedure Form No. 1, SCR 54.01 — 54.05,
                                                                                     54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
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                                                                                               Case Number: 2422-CC11686

                                                   Officer's or Server's Return
Note to serving officer: Service should be returned to the court within 30 days after the date of issue.

 I certify that I have served the above Summons by:(check one)
O delivering a copy of the summons and petition to the defendant/respondent.
O leaving a copy of the summons and petition at the dwelling house or usual place of abode of the
      defendant/respondent with
      a person at least 18 years of age residing therein.
▪ (for service on a corporation) delivering a copy of the summons and petition to:
                                                                           (name)                                                    (title).

O other:

Served at                                                                                                                      (address)
in                                                     (County/City of St. Louis), MO, on                                            (date)
at                         (time).



          Printed Name of Officer or Server                                           Signature of Officer or Server


                                Must be sworn before a notary public if not served by an authorized officer.
                                Subscribed and sworn to before me on                               (date).
           (Seal)
                                My commission expires:
                                                                           Date                           Notary Public


Service Fees (if applicable)
Summons
Non Est
Sheriff's Deputy Salary
Supplemental Surcharge $                      10.00
Mileage                                                                   miles @ $.               per mile)
Total


A copy of the summons and petition must be served on each defendant/respondent. For methods of
service on all classes of suits, see Supreme Court Rule 54.




SJRC (07-24) SM30 (SMCC) For Court Use Only: Document ID # 24-SMCC-166162 of 2 (2422-CC11686)    Civil Procedure Form No. 1, SCR 54.01 — 54.05,
                                                                                        54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
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                                                                             2422-CC11686

                       IN THE CIRCUIT COURT OF ST. LOUIS CITY
                                 STATE OF MISSOURI

DORA PELLETIER                               )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )         Case No.
                                             )
SAINT LOUIS UNIVERSITY                       )
Serve on:                                    )
Officer or Office Manager                    )
221 North Grand                              )
St. Louis, MO 63101                   and    )         JURY TRIAL REQUESTED
                                             )
SSM HEALTH CARE GROUP                        )
d/b/a SLUCare Physician Group                )
       Defendants.                           )
                                             )
Serve on:                                    )
CT Corporation Sytem                         )
5661 Telegraph Rd Ste 4B                     )
St. Louis, MO 63129-4275                     )

              PETITION FOR WRONGFUL TERMINATION IN VIOLATION OF
                        THE MISSOURI HUMAN RIGHTS ACT
                  AND TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

        Plaintiff Dora Pelletier, to redress the injuries Defendants caused after terminating her

because of her sex and in retaliation for opposing discrimination, brings this claim under the

Missouri Human Rights Act, Section 213.010 et seq., RSMo 1986,("MHRA")and the Title VII of

the Civil Rights Act of 1964,42 U.S.C. Section 2000e-2000e-17(as amended). In support thereof,

Plaintiff states:

                                         THE PARTIES

         1.     Plaintiff Dr. Dora Pelletier is a woman.

         2.     Defendant Saint Louis University is a Missouri benevolent corporation in good

 standing with business operations in St. Louis City, Missouri.



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           3.    Defendant SSM Health Care Group d/b/a SLUCare Physician Group is a Missouri

 non-for-profit corporation in good standing with business operations in St. Louis City, Missouri.

                                FACTS COMMONS TO ALL CLAIMS

        4.       SLUCare Physician Group and Saint Louis University employed Dr. Pelletier from

 September 2022 until her termination in June 2023.

           5.   She worked for SLUCare Physician Group and SLU as physician and assistant

 professor.

        6.      On July 11, 2022, Saint Louis University School of Medicine Dean Christine K.

 Jacobs, M.D. and SLUCare Physician Group President Robert Pendelton, M.D. jointly sent a

 letter to Dr. Pelletier, saying "we look forward to welcoming you to the Group on your Start Date"

 and providing details about her employment, including her faculty appointment at the medical

 school.

        7.      Specifically, Dr. Pelletier was in the Department of Orthopedic Surgery with a

 specialty in Spinal Deformity and Reconstructive Spine Surgery.

        8.      SLUCare Physician Group and Saint Louis University did not employ Dr. Pelletier

 as a religious minister or a spiritual leader. Her job functions did not include proselytizing or

 teaching the tenants of the Roman Catholic faith. Instead, she provided medical care for her

 patients that had spinal conditions and instruction to Saint Louis University School of Medicine

 students and residents.

        9.      Dr. Howard Place was the Richard J. Kemme M.D. Endowed Professor of

 Orthopaedic Surgery and chair of the Department of Orthopedic Surgery for Saint Louis

 University's School of Medicine.




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        10. In addition, Dr. Place was the Chair of the Department of Orthopedic Surgery for

 SLUCare.

        1 1.   Dr. Place supervised Dr. Pelletier in her role as a physician and assistant professor.

         12.   Dr. Pelletier met her employers' legitimate expectations throughout her

 employment.

         13.   Dr. Pelletier was one of the few orthopedic surgeons of Defendants who did not

 have formal complaints and had a low complication rate, generally but also in comparison to her

 male peers.

        14.    Initially, for the first four months of her employment, Dr. Pelletier and Dr. Place

 had a strong relationship.

         15.   During this time, Dr. Place referred her patients, including another physician and

 an OR nurse's close family member. Dr. Place said Dr. Pelletier was his "first choice."

        16.    Dr. Place also introduced Dr. Pelletier as the surgeon who was taking over his adult

 practice.

        17.    Many different times during this initial time period Dr. Place told Dr. Pelletier that

 he was "so excited,""pleased," and "lucky" to have her in the Department. He called her a "bright

 spot" in the Department. At Thanksgiving and Christmas time, Dr. Place invited Dr. Pelletier to

 his home and gave her a Christmas card with this handwritten note:"Happy Holidays! Welcome!

 I am so glad that you are here!"

        18.    Dr. Place told Dr. Pelletier that he liked supervising her because she "didn't need

 much," making it easy to "take care" of her.




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         19.   Dr. Place assigned a nurse to her in December 2022 over other surgeons who were

 waiting to be assigned a nurse longer,justifying the assignment to Dr. Pelletier by saying that Dr.

 Pelletier was kinder and less demanding.

         20.   Further, others routinely referred Dr. Pelletier patients. CSM Clinic Manager

 referred her a close family member and a St Mary's Orthopedic Nurse Manager referred herself

 after witnessing how Dr Pelletier cared for and interacted with patients.

         21. On February 1, 2023, Dr. Pelletier had clinic at St. Mary's Hospital. Clinical Nurse

 Manager Ashley Carolan approached her, saying to Dr. Pelletier that she was "struggling" and

 that she (A.C.) would send over Dr. Place's resident from his Cardinal Glennon clinic to assist

 Dr. Pelletier. Dr. Pelletier refused the Clinical Nurse Manager's offer.

         22. On February 1, 2023, Dr. Pelletier's clinic was running smoothly, despite not having

 a resident that day.

         23. Later on, February 1, 2023,Dr. Pelletier commented during her clinic:"I don't know

 what is going on around here. I don't know if this is because I'm a woman. I don't know what

 this is. I don't think she [Clinical Nurse Manager Ashley Carolan] would've talked to a man that

 way."

         24.   Two days later, on February 3, 2023, Dr. Place called Dr. Pelletier to a meeting,

 telling her that he was "really bothered" that she had [reportedly] said "I am a woman; my male

 counterparts are allowed to do whatever they want with their clinics." Near the end of the

 conversation, Dr. Place said it "worried" him that Dr. Pelletier had inserted "male/ female issues"

 into the workplace.




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         25.    On March 14, 2023,just over a month after her complaints of discrimination, Dr.

 Place terminated Dr. Pelletier's appointment to the SLU School of Medicine faculty, which also

 triggered the end of her employment with SLUCare Physician Group.

         26.    After her complaint of discrimination, Defendants treated Dr. Pelletier differently

 and less well. For example, Dr. Place now voiced new, unfounded issues with Dr. Pelletier's

 communication style, claiming that she is unapproachable and required coaching. He required

 that Dr. Pelletier speak with a Saint Louis University employee as part of her employment.

         27.    Dr. Place reprimanded her for moving from an area where loud, non-work

 conversations were taking place that were breaking Dr. Pelletier's concentration while charting.

         28.    Dr. Place waited to approve her PTO request, approving it only a few days before

 it was set to start. She was unable to appropriately plan for travel to visit her family as a result.

         29.    Dr. Place further complained that Dr. Pelletier's whereabouts were unknown on her

 non-clinic days, insisting that she, unlike her male partners who had not complained, work from

 the office on those days.

         30.    Dr. Place ordered that Dr. Pelletier take on surgeries for non-urgent matters on her

 non-call days and complained when Dr. Pelletier didn't answer text messages fast enough on her

 non-call Sundays.

        31.     Dr. Place also mandated that Dr. Pelletier attend journal club meetings that her male

 peers did not always attend.

        32.     Dr. Pelletier's support staff unnecessarily were told that Dr. Place was "on high

 alert with Dr. Pelletier."

        33.    Further, Dr. Place sent a negative, unfounded communication about Dr. Pelletier to

 a hospital where she had gained employment.



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         34.    Finally, Dr. Place also treated Dr. Pelletier differently when it came to nursing care

  resources after her complaint of discrimination. Specifically, Dr. Place withdrew Dr. Pelletier's

  nursing support. On several occasions, Dr. Place's direct report transferred Dr. Pelletier nurse to

 a different clinic, leaving her without one.

         35.    Around this time in 2023, Dr Place announced that he routinely uses the doctors'

  nurses against them as a form of punishment.

         36.    In May 2023, Dr. Place and Nurse Manager Jennifer Brechbuhler removed Dr.

 Pelletier's nurse support all together, "strictly prohibiting" that any nurse provide nursing care to

  her patients. This included removing all nurses from monitoring patient inquiries without telling

 Dr. Pelletier or having someone monitoring her former nurse's voicemail. One of her patients

  had to call at least four different times to receive care after experiencing progressive pain and

 disability.

         37.    Dr. Pelletier's last day of employment was June 30, 2023.

         38.    SLU and SLU Care Physician Group fired Dr. Pelletier for a pretextual reason.

         39.    Dr. Pelletier asserts that SLU and SLUCare Physician Group terminated her

 because of her sex and complaints about discrimination.


                                             COUNT I

          SEX DISCRIMINATION AND RETALIATION IN VIOLATION OF
     THE MISSOURI HUMAN RIGHTS ACT AGAINST SAINT LOUIS UNIVERSITY

         40.    Plaintiff incorporates the above paragraphs 1 — 39.

         41.    The unlawful employment practices complained of herein were committed within

 St. Louis City, Missouri. Jurisdiction and venue in this Court are, therefore, proper pursuant to

 Section 231.111, R.S. Mo. 1999.



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         42.    At all relevant times, Defendant Saint Louis University employed more than six

  persons and is an employer within the meaning of the MHRA.

         43.    On September 5, 2023, Dr. Pelletier filed Charge of Discrimination No. FE-09/23-

 36697, 560-2023-03350 with the Equal Employment Opportunity Commission("EEOC")within

  180 days of her termination announcement.

         44.    On December 6, 2023, MCHR issued a "Notice of Termination of Proceedings"

  regarding her Saint Louis University Charge which administratively closed Dr. Pelletier's case

  without issuing to her a Right to Sue.

         45.    On January 3, 2023, Dr. Pelletier filed a Petition for Writ of Mandamus in Saint

 Louis City Circuit Court against the MCHR,requesting the Court direct MCHR to issue to her a

 Right to Sue among other relief. Her Petition for Writ has been transferred to Cole County Circuit

 Court is still pending against the MCHR and Defendants.

         46.    Dr. Pelletier believes the Missouri Courts will direct the MCI-1R to issue to her a

 Right to Sue as part of the relief granted in the Cole County action.

         47.    Dr. Pelletier has filed this lawsuit within two years of her termination

 announcement.

         48.    Defendants, by their actions and failures to act, including but not limited to those

 described above, discriminated against Dr. Pelletier because of her sex and opposition to sex

 discrimination in violation of the Missouri Human Rights Act.

         49.    Dr. Pelletier's sex and opposition to discrimination was a motivating factor in

 Defendant Saint Louis University's decision to terminate her employment and other actions that

 have harmed her.




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          50.   As a result of Defendant Saint Louis University's actions and failures to act as

  described herein, Dr. Pelletier has suffered non-diagnosed emotional pain, suffering, humiliation,

  inconvenience, mental anguish and loss of enjoyment of life.

          51.   In addition, Dr. Pelletier has lost income and benefits of employment and has

  incurred and will continue to incur attorney's fees, costs and expenses of suit.

          52.   Defendant Saint Louis University intentionally acted without just cause or acted

  with a deliberate and flagrant disregard for the safety of others. Its actions have harmed Dr.

  Pelletier.

         WHEREFORE,Plaintiff prays that this Court will, after trial by jury, enterjudgment in her

 favor and against Defendant Saint Louis University, in amounts to be determined at trial, for her

 back pay and lost benefits, front pay, interest on back pay, compensation for emotional distress,

 punitive damages, attorneys' fees and costs of suit, and for such other relief as justice requires.

                                             COUNT II

      SEX DISCRIMINATION AND RETALIATION IN VIOLATION OF TITLE VII
      OF THE CIVIL RIGHTS ACT OF 1964 AGAINST SAINT LOUIS UNIVERSITY

          53.   Plaintiff incorporates the above paragraphs 1 — 39.

          54.   The unlawful employment practices complained of herein were committed within

  St. Louis City, Missouri. Jurisdiction and venue in this Court are, therefore, proper pursuant to

 42 U.S.C. §2000e-5(f)(3).

          55.   At all relevant times, Defendant Saint Louis University employed more than fifteen

  persons and is an employer within the meaning of the Title VII.

         56.    On September 5, 2023, Dr. Pelletier filed Charge of Discrimination No. FE-09/23-

  36697, 560-2023-03350 with the Equal Employment Opportunity Commission("EEOC")within

 300 days of her termination announcement.


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         57.    On September 13, 2024, the EEOC issued to Dr. Pelletier a Notice of Right to Sue

  on Charge 560-2023-03350 against Saint Louis University.

         58.    Defendants, by their actions and failures to act, including but not limited to those

  described above, discriminated against Dr. Pelletier because of her sex and opposition to sex

  discrimination in violation of the Title VII.

         59.    As a result of Defendant Saint Louis University's actions and failures to act as

  described herein, Dr. Pelletier has suffered non-diagnosed emotional pain, suffering, humiliation,

  inconvenience, mental anguish and loss of enjoyment of life.

         60.    In addition, Dr. Pelletier has lost income and benefits of employment and has

  incurred and will continue to incur attorney's fees, costs and expenses of suit.

         61.    Defendant Saint Louis University's conduct was outrageous because of its evil

  motive or reckless indifference to the rights ofPlaintiff and as such, warrants an award of punitive

  damages in such sum as will serve to punish Defendant and to deter him and others from like

 conduct.

        WHEREFORE,Plaintiff prays that this Court will, after trial by jury, enterjudgment in her

favor and against Defendant Saint Louis University, in amounts to be determined at trial, for her

 back pay and lost benefits, front pay, interest on back pay, compensation for emotional distress,

 punitive damages, attorneys' fees and costs of suit, and for such other relief as justice requires.



                                             COUNT III

         SEX DISCRIMINATION AND RETALIATION IN VIOLATION OF
   THE MISSOURI HUMAN RIGHTS ACT AGAINST SLUCARE PHYSICIAN GROUP .

         62.    Plaintiff incorporates the above paragraphs 1 — 39.




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         63.    The unlawful employment practices complained of herein were committed within

 St. Louis City, Missouri. Jurisdiction and venue in this Court are, therefore, proper pursuant to

 Section 231.111, R.S. Mo. 1999.

         64.    At all relevant times, Defendant SLUCare Physician Group employed more than

 six persons and is an employer within the meaning of the MHRA.

         65.    On September 5, 2023, Dr. Pelletier filed Charge of Discrimination No. FE-09/23-

 36699, 560-2023-033654 against Defendant SLUCare with the Equal Employment Opportunity

 Commission ("EEOC")within 180 days of her termination announcement.

         66.    On December 20, 2023, MCHR issued a "Notice of Termination of Proceedings"

 regarding her SLUCare Charge, which administratively closed Dr. Pelletier's case without

  issuing to her a Right to Sue.

         67.    On January 3, 2023, Dr. Pelletier filed a Petition for Writ of Mandamus in Saint

 Louis City Circuit Court against the MCHR,requesting the Court direct MCHR to issue to her a

 Right to Sue among other relief. Her Petition for Writ has been transferred to Cole County Circuit

 Court is still pending against the MCHR and Defendants.

         68.    Dr. Pelletier believes the Missouri Courts will direct the MCHR to issue to her a

 Right to Sue as part of the relief granted in the Cole County action.

         69.    Dr. Pelletier has filed this lawsuit within two years of her termination

 announcement.

         70.    Defendants, by their actions and failures to act, including but not limited to those

 described above, discriminated against Dr. Pelletier because of her sex and opposition to sex

 discrimination in violation of the Missouri Human Rights Act.




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         71.    Dr. Pelletier's sex and opposition to discrimination was a motivating factor in

  Defendant SLUCare's decision to terminate her employment and other actions that have harmed

  her.

         72.    As a result of Defendant SLUCare's actions and failures to act as described herein,

 Dr. Pelletier has suffered non-diagnosed emotional pain, suffering, humiliation, inconvenience,

  mental anguish and loss of enjoyment of life.

         73.    In addition, Dr. Pelletier has lost income and benefits of employment and has

  incurred and will continue to incur attorney's fees, costs and expenses of suit.

         74.    Defendant SLUCare intentionally acted without just cause or acted with a

  deliberate and flagrant disregard for the safety of others. Its actions have harmed Dr. Pelletier.

         WHEREFORE,Plaintiff prays that this Court will, after trial by jury, enterjudgment in her

favor and against Defendant SLUCare, in amounts to be determined at trial, for her back pay and

 lost benefits, front pay, interest on back pay, compensation for emotional distress, punitive

 damages, attorneys' fees and costs of suit, and for such other relief as justice requires.

                                             COUNT IV

          SEX DISCRIMINATION AND RETALIATION IN VIOLATION OF
   TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 AGAINST SLUCare PHYSICIANS
                                  GROUP

         75.    Plaintiff incorporates the above paragraphs 1 — 39.

         76.    The unlawful employment practices complained of herein were committed within

 St. Louis City, Missouri. Jurisdiction and venue in this Court are, therefore, proper pursuant to

 42 U.S.C. §2000e-5(0(3).

         77.    At all relevant times, Defendant SLUCare employed more than fifteen persons and

  is an employer within the meaning of the Title VII.



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          78.   On September 5, 2023, Dr. Pelletier filed Charge of Discrimination No. FE-09/23-

  36699, 560-2023-033654 with the Equal Employment Opportunity Commission ("EEOC")

  within 300 days of her termination announcement.

         79.    On September 13, 2024, the EEOC issued to Dr. Pelletier a Notice of Right to Sue

  on Charge 560-2023-033654 against SLUCare.

         80.     Defendant SLUCare, by their actions and failures to act, including but not limited

  to those described above, discriminated against Dr. Pelletier because of her sex and opposition to

  sex discrimination in violation of the Title VII.

         81.    As a result of Defendant SLUCare's actions and failures to act as described herein,

  Dr. Pelletier has suffered non-diagnosed emotional pain, suffering, humiliation, inconvenience,

  mental anguish and loss of enjoyment of life.

         82.    In addition, Dr. Pelletier has lost income and benefits of employment and has

  incurred and will continue to incur attorney's fees, costs and expenses of suit.

         83.    Defendant SLUCare's conduct was outrageous because of its evil motive or

  reckless indifference to the rights of Plaintiff and as such, warrants an award of punitive damages

  in such sum as will serve to punish Defendant and to deter him and others from like conduct.

         WHEREFORE,Plaintiff prays that this Court will, after trial by jury, enterjudgment in her

favor and against Defendant SLUCare, in amounts to be determined at trial, for her back pay and

 lost benefits, front pay, interest on back pay, compensation for emotional distress, punitive

 damages, attorneys' fees and costs of suit, and for such other relief as justice requires.

                                               Respectfully Submitted,

                                               SEDEY HARPER WESTHOFF,P.C.
                                               Attorney for Plaintiff




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